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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                  §
In re:                                            § Chapter 7
                                                  §
ALEXANDER E. JONES,                               § Case No. 22-33553 (CML)
                                                  §
                Debtor.                           §
                                                  §
                                                  §

               TRUSTEE’S PROPOSED AGENDA FOR HYBRID HEARING
           ON DECEMBER 9, 2024 AT 1:00 P.M. (PREVAILING CENTRAL TIME)

TO THE HONORABLE CHRISTOPHER M. LOPEZ:

         Christopher R. Murray, the Chapter 7 Trustee for the bankruptcy estate of Alexander E.

Jones, files this Proposed Agenda of matters set for hybrid hearing on December 9, 2024 at 1:00

p.m. (prevailing Central Time) (the “Hearing”) before the Honorable Judge Christopher M.

Lopez, United States Bankruptcy Judge, Courtroom 401, 515 Rusk Street, Houston, Texas 77002:

   A. Trustee’s Emergency Motion to Strike Alexander E. Jones Response and Objection
      to the Trustee’s Expedited Motion for Entry of an Order in Furtherance of the Sale
      of Assets of Free Speech Systems, LLC [Docket No. 970].

             a. Status: Trustee requests that this motion be heard prior to Docket No. 859.

             b. Related Documents:

                    i. Alexander E. Jones Response and Objection to the Trustee’s Expedited
                       Motion for Entry of an Order in Furtherance of the Sale of Assets of
                       Free Speech Systems, LLC [Docket No. 962].

                    ii. Corrected Alexander E. Jones Response and Objection to the Trustee’s
                        Expedited Motion for Entry of an Order in Furtherance of the Sale of
                        Assets of Free Speech Systems, LLC [Docket No. 969].

   B. Trustee’s Expedited Motion for Entry of an Order in Furtherance of the Sale of
      Assets of Free Speech Systems, LLC [Docket No. 859]

             a. Status: Going forward.



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             b. Related Documents:

                   i. Christopher R. Murray, Chapter 7 Trustee

                         1. Trustee’s Witness and Exhibit List for Monday, December 9,
                            2024, Hybrid Hearing on Trustee’s Expedited Motion for Entry
                            of an Order in Furtherance of the Sale of Assets of Free Speech
                            Systems, LLC [Docket No. 955].

                         2. Trustee’s Amended Witness and Exhibit List for Monday,
                            December 9, 2024, Hybrid Hearing on Trustee’s Expedited
                            Motion for Entry of an Order in Furtherance of the Sale of
                            Assets of Free Speech Systems, LLC [Docket No. 968].

                         3. Trustee’s Reply in Support of the Trustee’s Expedited Motion
                            for Entry of an Order in Furtherance of the Sale of Assets of
                            Free Speech Systems, LLC [Docket No. 972].

                         4. Revised Proposed Order (I) Approving Asset Purchase
                            Agreement, (II) Authorizing Sale of Purchased Assets Free and
                            Clear of All Liens, Claims, Encumbrances, and Other Interests,
                            and (III) Granting Other Related Relief [Docket No. 974].

                         5. Notice of (A) Revised Proposed Order (I) Approving Asset
                            Purchase Agreement, (II) Authorizing Sale of Purchased Assets
                            Free and Clear of All Liens, Claims, Encumbrances, and Other
                            Interests, and (III) Granting Other Related Relief and (B)
                            Redline Thereof [Docket No. 975].

                   ii. X Corp.

                         1. X Corp.’s Limited Objection to Trustee’s Proposed Sale
                            Motions [Docket No. 937].

                                 a. Status: Resolved by agreement, form of proposed order
                                    subject to X Corp.’s final approval.

                         2. X Corp.’s Witness and Exhibit List for Hearing Scheduled for
                            December 9, 2024 at 1:00 P.M. Prevailing Central Time [Docket
                            No. 957].

                         3. X Corp.’s Supplemental Witness and Exhibit List for Hearing
                            Scheduled for December 9, 2024 at 1:00 P.M. (Prevailing
                            Central Time) [Docket No. 966].




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                  iii. Global Tetrahedron, LLC

                          1. Global Tetrahedron, LLC’s Witness and Exhibit List [Docket
                             No. 959].

                          2. Global Tetrahedron, LLC’s Further (I) Statement in Support of
                             Trustee’s Expedited Motion for Entry of an Order in
                             Furtherance of the Sale of Assets of Free Speech Systems, LLC
                             and (II) Omnibus Reply Related Thereto [Docket No. 973].

                  iv. Connecticut Families

                          1. Connecticut Families’ Consolidated Witness and Exhibit List
                             [Docket No. 956].

                          2. Connecticut Families’ Reply (I) in further Support of the
                             Trustee’s Emergency Motion and (II) in Opposition to (A) the
                             Emergency Motion to Disqualify Global Tetrahedron, LLC’s
                             Bid and (B) the Plaintiff’s Complaint and Emergency
                             Application for Temporary Retraining Order and Preliminary
                             Injunction [Docket No. 971].

                   v. Texas Plaintiffs

                          1. Statement of the Texas Plaintiffs on the Chapter 7 Trustee’s
                             Expedited Motion for Entry of an Order in Furtherance of the
                             Sale of Assets of Free Speech Systems, LLC [Docket No. 961].

                          2. The Texas Plaintiffs’ Witness and Exhibit List for Hearing on
                             December 9, 2024 [Docket No. 964].

                  vi. First United American Companies, LLC

                          1. First United American Companies, LLC’s Witness and Exhibit
                             List [Docket No. 954].

                          2. First United American Companies, LLC’s Response to
                             Trustee’s Expedited Motion for Entry of an Order In
                             Furtherance of the Sale of Assets of Free Speech Systems, LLC
                             and Objection to the Proposed Sale to Global Tetrahedron, LLC
                             [Docket No. 963].

                          3. First United American Companies, LLC’s Amended Witness
                             and Exhibit List [Docket No. 976].

                  vii. Alexander E. Jones

                          1. Plaintiffs’ Witness and Exhibit List [Docket No. 958].


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                         2. Alexander E. Jones Response and Objection to the Trustee’s
                            Expedited Motion for Entry of an Order in Furtherance of the
                            Sale of Assets of Free Speech Systems, LLC [Docket No. 962].

                         3. Alexander E. Jones’ Supplement to Witness and Exhibit List
                            [Docket No. 967].

                         4. Corrected Alexander E. Jones Response to the Trustee’s
                            Expedited Motion for Entry of an Order in Furtherance of the
                            Sale of Assets of Free Speech Systems, LLC [Docket No. 969].


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Dated: December 9, 2024
Houston, Texas.

                                              Respectfully submitted,

                                              By: /s/ Joshua W. Wolfshohl
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                                              Michael B. Dearman (Bar No. 24116270)
                                              Jordan T. Stevens (Bar No. 24106467)
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                                              Counsel for Christopher R. Murray, Chapter
                                              7 Trustee




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                                     Certificate of Service

        I certify that on December 9, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                             /s/ Joshua W. Wolfshohl
                                             Joshua W. Wolfshohl




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